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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 IN RE WATTSTOCK, LLC,
         Debtor.
                                                  Case No. 21-31488-sgj11V
 WATTSTOCK, LLC,
                                                  Chapter 11
         Plaintiff,                               Subchapter V
 v.
                                                  Adv. No. 21-03083-sgj
 ALTA POWER LLC,
         Defendant, Counter-Plaintiff, and        Removed from the District Court of
         Third-Party Plaintiff,                   Dallas County, Texas, 116th Judicial
                                                  District
 v.
 WATTSTOCK, LLC,                                  Case No. DC-20-08331
         Counter-Defendant, and
 GENERAL ELECTRIC
 INTERNATIONAL, INC., d/b/a GE
 POWER SERVICES,
          Third-Party Defendant.

      GENERAL ELECTRIC INTERNATIONAL, INC.’S BRIEF IN SUPPORT OF ITS
                   MOTION TO RECONSIDER THE COURT’S
       ORDER GRANTING MOTION TO REMAND ACTION BACK TO STATE COURT
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       GE moves the Court to convert its order granting Alta’s motion for remand into a report

and recommendation because it lacks the power to enter an order remanding this case, which

involves “only ‘non-core’ claims.” See ECF 140, at 3 (“Remand Order”); 28 U.S.C. § 157(c).

Rather than raise this procedural infirmity for the first time on appeal, GE files this motion to

permit the Court the opportunity to address the error in the first instance by converting its order

into a report and recommendation. See Fed. R. Civ. P. 59(e); see also Fed. R. Bankr. P. 9023.

       1.      As the Court made clear in its remand order, this adversary proceeding involves

“only ‘non-core’ claims”—and neither party has consented to the bankruptcy court entering orders

or judgment. Remand Order at 3 (“All parties agreed early on that all claims in the Action were

mere ‘non-core,’ ‘related to’ claims.”); id. at 4 (this Court recommended “withdrawal of the

reference when Action is trial-ready, due to non-core nature of claims and jury trial rights”); ECF

107, at 2 (Alta Remand Br.) (“Alta Power and GE both agree that the remaining claims are ‘non-

core’ ”); see also ECF 19, at 2–3 (“the parties do not consent to the entry of a final judgment or

order by the bankruptcy court”).

       Accordingly, this Court’s authority is limited to “submit[ting] proposed findings of fact

and conclusions of law to the district court,” which can then enter “any final order or judgment”

after de novo review. 28 U.S.C. § 157(c)(1); see Wellness Int’l Network, Ltd. v. Sharif, 575 U.S.

665, 670–71 (2015) (“Absent consent, bankruptcy courts in non-core proceedings may only

‘submit proposed findings of fact and conclusions of law,’ which the district courts review de

novo.”); Executive Benefits Ins. Agency v. Arkison, 573 U.S. 25, 34 (2014) (“If a matter is non-

core, and the parties have not consented to final adjudication by the bankruptcy court, the

bankruptcy judge must propose findings of fact and conclusions of law. Then, the district court




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must review the proceeding de novo and enter final judgment.”).1

           2.       This limitation on bankruptcy courts’ power is mandated not only by statute but

also by the Constitution. It is necessary to preserve the right of non-consenting litigants to have

non-bankruptcy claims adjudicated de novo by an Article III judge. See Executive Benefits, 573

U.S. at 32–33 (assignment of a state-law claim “against an entity not otherwise a party to the

[bankruptcy] proceeding” to “the bankruptcy judge ‘violates Art. III of the Constitution’ ”)

(quoting N. Pipeline Const. Co. v. Marathon Pipe Line Co., 458 U.S. 50, 76 (1982) (plurality)); N.

Pipeline, 458 U.S. at 91 (Rehnquist, J., joined by O’Connor, J., concurring) (“traditional appellate

review by Art. III courts” is insufficient to “save the grant of authority” to the bankruptcy courts);

see also In re Castlerock Properties, 781 F.2d 159, 161–62 (9th Cir. 1986) (“if the district court

can review de novo, giving no deference to findings of the bankruptcy judge, [non-core]

proceedings can be held before a non-Article III court”).

           This is precisely the reason that every court of appeals to address the question has held

that—absent consent—magistrate judges cannot enter a remand order but must instead issue a

report and recommendation. Davidson v. Georgia-Pac., LLC, 819 F.3d 758, 763 (5th Cir. 2016)

(citing cases). Were the rule otherwise, the Fifth Circuit explained, “an Article III judge might

never exercise de novo review of a case during its entire federal lifespan,” because “a remand order

is dispositive insofar as proceedings in the federal court are concerned and thus is the functional

equivalent of an order of dismissal.” Id. at 763–64 (internal quotation marks omitted) (noting that

a magistrate’s orders can be set aside only if “clearly erroneous or contrary to law”).

           To avoid the “constitutional difficulties” that would present, the courts of appeals have

consistently limited “the matters in which a magistrate judge may enter orders without de novo


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    See also ECF 19 (entering a report and recommendation in response to Alta’s motion to withdraw the reference).



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Article III review” to exclude remand orders. Id. That constitutional rationale applies with equal

force in the bankruptcy context. See Wellness Int’l, 575 U.S. at 681 (“So long as [bankruptcy]

judges are subject to control by the Article III courts, their work poses no threat to the separation

of powers.”).

                                               ***

       There is no dispute that this is a non-core proceeding and that the parties did not consent

to the bankruptcy court entering “appropriate orders and judgments.” 28 U.S.C. § 157(c)(2).

Accordingly, this Court’s authority was statutorily limited to submitting “proposed findings of fact

and conclusions of law to the district court.” Id. § 157(c)(1). Because its order remanding this

case to state court exceeded that authority, see Davidson, 819 F.3d at 763–64, it should grant GE’s

motion to reconsider and convert its order into a report and recommendation.



 Dated: April 10, 2023
                                                     Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing document has been served on counsel

of record pursuant to the Federal Rules of Civil Procedure.

                                              /s/ Andrew Legrand
                                              Andrew LeGrand

                                              Attorney for General Electric
                                              International, Inc.




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                             CERTIFICATE OF CONFERENCE

       I certify that on April 10, 2023, I conferred in good faith with Michael Cancienne, counsel

for Alta Power LLC, who indicated that his client opposed the requested relief. Counsel for Alta

has agreed to the expedited briefing schedule set forth in the motion accompanying this brief.

                                             /s/ Andrew Legrand
                                             Andrew LeGrand

                                             Attorney for General Electric
                                             International, Inc.




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